          Case 1:25-cv-00604        Document 2-8       Filed 03/01/25      Page 1 of 3




           DECLARATION OF ALEJANDRO JOSE PULIDO CASTELLANO

I, Alejandro Jose Pulido Castellano, hereby declare under penalty of perjury pursuant to 28
U.S.C. § 1746 that the following is true and correct.

   1. I make this declaration based on my own personal knowledge and if called to testify I
      could and would do so competently and truthfully to these matters.

   2. My name is Alejandro Jose Pulido Castellano. I am 26 years old and from Venezuela. I
      came to the United States on August 26, 2024 to seek asylum, via a CBP One
      appointment. At this appointment, the Border Patrol official told me that I looked like a
      gang member because of my tattoos.

   3. In September 2024, I received a third-country removal order to be removed to Mexico.

   4. I have spent my entire time in the United States federal custody. Since August 26, 2024, I
      have been transferred all around the country. First, I spent about three months detained at
      Otay Mesa Detention Center in San Diego, California. Then, I was moved to South Texas
      ICE Processing Center in Pearsall, Texas, where I spent about three weeks. Next, I was
      moved to Florence Detention Center, where I spent about two days. I was moved back to
      Otay Mesa Detention Center for about one month. Then, I was transferred again, to Winn
      Louisiana, where I spent about two months. In early February 2025, I was transferred to
      El Paso Processing Center in El Paso, Texas, where I am currently detained.

   5. I heard that the U.S. government has started transferring Venezuelans with final orders to
      the military base at Guantánamo Bay, Cuba. I also heard the U.S. government is targeting
      people they think are criminals or gang members, even if they have no proof.

   6. During one of the periods that I was detained in Otay Mesa Detention Center, I was
      questioned by three ICE officials from an anti-gang division. They took my phone and
      went through my WhatsApp, Facebook, and photos. I have a lot of friends on Facebook
      and would accept friend requests from anyone. These ICE officials told me that my
      Facebook friends were proof that I was a gang member. But I have never been involved
      with any gang, and I have no criminal record.

   7. I am afraid of being transferred to Guantánamo. I believe that I am at risk of being
      transferred because I have a third-country removal order and am from Venezuela. I also
      believe that I am going to be transferred to Guantánamo because I have tattoos and have
      been erroneously accused of being a gang member.

   8. I do not want to be transferred to or detained at Guantánamo. I am afraid of what will
      happen to me when I get there. I heard that there is no ability to contact lawyers or family
      from Guantánamo. I want access to an attorney to help me get out of detention and figure
      out what options I have in my immigration case.
Case 1:25-cv-00604   Document 2-8   Filed 03/01/25   Page 2 of 3
Case 1:25-cv-00604     Document 2-8      Filed 03/01/25          Page 3 of 3




      Julia Randolph

 20                           Alejandro Jose Pulido Castellano


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